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                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

    In re:                                                )      Chapter 11
                                                          )
    Blackjewel, L.L.C., et al.,                           )      Case No. 19-30289
                                                          )
                             Debtors.1                    )      (Jointly Administered)

         DEBTORS’ SECOND MOTION FOR ENTRY OF AN ORDER EXTENDING
          THE EXCLUSIVE PERIODS DURING WHICH ONLY THE DEBTORS
        MAY FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

             Blackjewel, L.L.C., and its affiliated debtors and debtors-in-possession (collectively, the

“Debtors”) in the above-captioned chapter 11 cases, hereby move the Court for entry of an order,

pursuant to section 1121(d) of chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”), substantially in the form attached hereto as Exhibit A (the “Proposed Order”) further

extending the periods during which the Debtors have the exclusive right to (a) file a chapter 11

plan by an additional 91 days, through and including April 27, 2020 (the “Filing Exclusivity

Period”),2 and (b) solicit votes thereon by an additional 91 days, through and including July 27,

2020 (the “Soliciting Exclusivity Period” and, together with the Filing Exclusivity Period, the

“Exclusivity Periods”), without prejudice to the Debtors’ right to seek further extensions of the

Exclusivity Periods. In support of this motion, the Debtors respectfully state as follows:




1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number
are as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745); Revelation Energy Holdings,
LLC (8795); Revelation Management Corporation (8908); Revelation Energy, LLC (4605); Dominion Coal
Corporation (2957); Harold Keene Coal Co. LLC (6749); Vansant Coal Corporation (2785); Lone Mountain
Processing, LLC (0457); Powell Mountain Energy, LLC (1024); and Cumberland River Coal LLC (2213). The
headquarters for each of the Debtors is located at 7093, 971 WV-34, Hurricane, WV 25526.
2
 The initial deadline for the Filing Exclusivity Period was October 29, 2019 (i.e., 120 days following the Debtors’
July 1, 2019 petition date). The Court previously extended that deadline through and including January 27, 2020. See
Docket No. 1455.




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                                   PRELIMINARY STATEMENT

         1.       By this motion, the Debtors seek a 91-day extension of the Exclusivity Periods to

file and solicit acceptances of a chapter 11 plan so that they may continue to diligently pursue a

value-maximizing resolution to these chapter 11 cases and build upon the substantial progress

made to date without distraction from other competing chapter 11 plans.

         2.       As more fully set forth in the Debtors’ Motion for Entry of an Order Extending the

Exclusive Periods During Which Only the Debtors May File a Chapter 11 Plan and Solicit

Acceptances Thereof [Docket No. 1266] (the “First Motion”), during the first 120 days of the

chapter 11 cases, the Debtors successfully (i) obtained short term debtor in possession financing

facilities; (ii) conducted an auction for the sale of substantially all of the Debtors’ assets;

(iii) closed ten separate sales resulting from the auction; (iv) closed two additional private sales of

the Debtors’ assets, including the sale of all of the Debtors’ Wyoming assets; (v) litigated and

settled prepetition employee wage disputes with the United States Department of Labor (“DOL”);

and (vi) in connection with the private sale of the western assets, (a) compromised and resolved

all claims and disputes with Riverstone Credit Partners – Direct, L.P. (“Riverstone”), (b)

compromised and resolved all disputes with Blackjewel Marketing & Sales, and (c) obtained the

agreement of Highbridge Capital Management, LLC and Whitebox Advisors LLC (together, the

“Junior DIP Lenders”) to forego any recovery on the debtor in possession financing extended to

the Debtors.

         3.       The Debtors achieved that initial progress in no small part due to the breathing spell

provided by chapter 11, and these steps have put the Debtors on a path toward a successful

resolution of these cases. Since filing the First Motion, the deadline to file claims against the

Debtors on account of prepetition claims and/or administrative claims incurred through and

including October 14, 2019, has lapsed, including governmental claims. Accordingly, the Debtors

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have now turned their attention to claims reconciliation and negotiations with creditors in order to

formulate a chapter 11 plan of liquidation. Indeed, over the last three months, the Debtors devoted

significant time to analyzing administrative and secured claims and contacting the respective

claimants.

         4.       During this time, the Debtors have also devoted a substantial amount of time to:

                  a.       pursuing sales of remaining assets pursuant to the Debtors’ Motion for
                           Entry of an Order Establishing Procedures for the Sale, Transfer, or
                           Abandonment of Certain De Minimis Assets [Docket No. 1365] (the “De
                           Minimis Motion”);

                  b.       working with the various asset purchasers on issues related to assumption
                           and assignment of executory contracts and unexpired leases of
                           nonresidential property [Docket Nos. 1364,1418, 1454, 1595, 1618];

                  c.       working with sureties and regulators to determine the best disposition of the
                           Debtors’ remaining assets; and

                  d.       working with United HealthCare Services, Inc. (“UHSI”) and those
                           employers believed to be under the direct or indirect control of the Debtors’
                           former President and Chief Executive Officer, Jeff Hoops (the “Hoops Bill
                           Groups”) to understand the amount and nature of those unprocessed claims
                           accrued under the Debtors’ self-insured health plan (the “Health Plan”), and
                           preparing and filing the Motion of the Debtors for an Ex Parte Order
                           Temporarily Prohibiting Healthcare Providers from Direct Billing and/or
                           Commencing Any Actions Against Current and Former Employees and
                           their Dependents or United Healthcare Services, Inc. Related to Unpaid
                           Claims [Docket No. 1656].

         5.       In addition, the Debtors, in cooperation with the Official Committee of Unsecured

Creditors (the “Committee”), have started the process of investigating, and potentially bringing

causes of action against, multiple parties, including the Debtors’ former President and Chief

Executive Officer, Jeff Hoops, and various persons and entities related to Mr. Hoops. This resulted

in the Debtors’ recent motion seeking an order authorizing the examination of Jeff A. Hoops, Sr.

and various Hoops-related entities and individuals. See Docket No. 1611. The Debtors believe

that these investigations may lead to causes of action valued in the tens of millions of dollars that


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could be available for distribution to creditors. In the coming months, the Debtors will continue

to work constructively with the Committee to pursue these investigations, develop an exit strategy,

successfully conclude these chapter 11 cases, and maximize value for all stakeholders.

         6.       The Debtors believe maintaining the exclusive right to file a chapter 11 plan and

solicit votes thereon is critical to their ability to complete their chapter 11 process and achieve their

remaining goals as efficiently and expeditiously as possible. By contrast, allowing the Exclusivity

Periods to expire would risk disrupting these cases in ways that could result in substantial

additional cost to the Debtors’ estates and risk the successful conclusion of these cases. The

requested 91-day extension of the Exclusivity Periods will afford the Debtors and their

stakeholders much needed time to formulate their go forward strategy and pursue a chapter 11 plan

of liquidation. Accordingly, the Debtors submit that the requested extension of the Exclusivity

Periods is reasonable and appropriate under the circumstances and should be approved.

                                  JURISDICTION AND VENUE

         7.       This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding under 28 U.S.C. § 157(b), and the Debtors consent to entry

of a final order by the Court in connection with this Motion to the extent it is later determined that

the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

         8.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

         9.       The bases for the relief requested herein are section 1121(d) of the Bankruptcy

Code, rule 9006(b)(1) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),




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and rule 9006-1 of the Local Rules of the United States Bankruptcy Court for the Southern District

of West Virginia (the “Local Rules”).3

                                                 BACKGROUND

         10.      Each of the Debtors filed a voluntary petition for relief with the Court under chapter

11 of the Bankruptcy Code on either July 1, 2019 or July 24, 2019 (the “Petition Date”). The

Debtors are continuing to operate and maintain their business as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code.

         11.      As of the date hereof, no party has requested the appointment of a trustee or an

examiner in these chapter 11 cases. On July 3, 2019, the Office of the United States Trustee for

Region 4, the District of West Virginia (the “U.S. Trustee”) appointed the Committee [Docket No.

46].

         12.      A description of the Debtors’ business and the reasons for filing these chapter 11

cases is set forth in the Declaration of Jeff A. Hoops, Sr. in Support of Chapter 11 Filings and

First-Day Motions [Doc. No. 14] (the “First Day Declaration”).4

                                            RELIEF REQUESTED

         13.      By this motion, the Debtors respectfully request entry of the Proposed Order further

extending (a) the Filing Exclusivity Period by 91 days, through and including April 27, 2020, and




3
 Pursuant to Local Rule 9006-1, if this motion is not heard until after January 27, 2020, the date the Filing Exclusivity
Period would otherwise expire, the Filing Exclusivity Period will “automatically extend[] until the court rules on the
motion.”
4
  Mr. Hoops resigned his positions as an officer and director of each of the Debtors on July 3, 2019 and is no longer
involved in the management of the Debtors or their businesses.


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(b) the Soliciting Exclusivity Period by 91 days, through and including July 27, 2020, without

prejudice to the Debtors’ right to seek further extensions of the Exclusivity Periods.

                                   BASIS FOR RELIEF REQUESTED

         14.      Pursuant to section 1121(b) of the Bankruptcy Code, a debtor has the exclusive

right to propose a chapter 11 plan for the first 120 days of a chapter 11 case. See In re Bryson

Properties, XVIII, 961 F.2d 496, 504 (4th Cir. 1992) (“Under the Bankruptcy Code, the debtor has

the exclusive right to propose a reorganization plan for 120 days.”) Section 1121(c)(3) of the

Bankruptcy Code further extends the period of exclusivity for an additional 60 days, to an initial

maximum of 180 days, where the debtor has filed a chapter 11 plan and is soliciting votes on such

plan. See In re Corvus Corp., 122 B.R. 685, 685-86 (Bankr. E.D. Va. 1991) (“If the debtor files a

plan within the 120 day period, the debtor is given a period of 180 days . . . during which the debtor

may solicit acceptances of its plan. No other person may file a plan during such periods.” (citing

11 U.S.C. § 1121)). The purpose of the exclusivity period is “to promote an environment in which

the debtor’s business may be rehabilitated and a consensual plan may be negotiated.” In re Bruns

& Roe Enters., Inc., 2005 WL 6289213, at *4 (D.N.J. 2005). In these chapter 11 cases, the current

Filing Exclusivity Period will expire on January 27, 2020 absent further order of the Court.

         15.      Section 1121(d)(1) of the Bankruptcy Code permits a court to extend a debtor’s

exclusivity “for cause,” subject to certain limitations not relevant here.5 Specifically, section

1121(d)(1) of the Bankruptcy Code provides that “on request of a party in interest made within the

respective periods specified in subsections (b) and (c) of this section and after notice and a hearing,



5
  Section 1121(d)(2) provides that, even if cause is shown, the 120-day period “may not be extended beyond a date
that is 18 months after the [petition] date” and the 180-day period “may not be extended beyond a date that is 20
months after the [petition] date.” 11 U.S.C. § 1121(d)(2). The exclusivity extensions requested by this motion do not
implicate either of these deadlines.



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the court may for cause reduce or increase the 120-day period or the 180-day period referred to in

this section.” 11 U.S.C. § 1121(d).

         16.      Although the Bankruptcy Code does not define the term “cause,” the legislative

history indicates the term should be viewed flexibly “in order to allow the debtor to reach an

agreement.” H.R. Rep. No. 95, 95th Cong., 1st Sess. 232 (1997); see also In re Ames Dep’t Stores

Inc., 1991 WL 259036, at *3 (S.D.N.Y. Nov. 25, 1991) (“The purpose of the Bankruptcy Code’s

exclusivity period is to allow the debtor flexibility to negotiate with its creditors.”). Simply put, a

debtor should be given a reasonable opportunity to negotiate with creditors and to prepare adequate

information concerning the ramifications of any proposed plan for disclosure to creditors. See In

re Texaco Inc., 76 B.R. 322, 327 (Bankr. S.D.N.Y. 1987).

         17.      The decision to extend exclusivity is fact-specific; and courts examine a number of

factors to determine whether “cause” exists to extend the Exclusivity Periods. These factors

include the following:

                  a) the size and complexity of the case;

                  b) the existence of good faith progress;

                  c) the need for sufficient time to permit the debtor to negotiate a chapter 11 plan
                     and prepare adequate information;

                  d) whether the debtor is paying its bills as they come due;

                  e) whether the debtor has demonstrated reasonable prospects for filing a viable
                     chapter 11 plan;

                  f) whether the debtor has made progress in its negotiations with creditors;

                  g) the length of time the case has been pending;

                  h) whether the debtor is seeking to extend exclusivity to pressure creditors to
                     accede to the debtor’s reorganization demands; and

                  i) whether an unresolved contingency exists.


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See In re Adelphia Commc’ns Corp., 352 B.R. 578, 587 (Bankr. S.D.N.Y. 2006) (listing factors);

In re Cent. Jersey Airport Servs., LLC, 282 B.R. 176, 183 (Bankr. D.N.J. 2002); see Quality Inns

Int'l, Inc. v. L.B.H. Associates Ltd. P'ship, 911 F.2d 724, at *2 (4th Cir. 1990) (affirming the

bankruptcy court’s grant of an exclusivity extension based on four such factors: (a) the debtor had

been involved in protracted litigation; (b) the case was complex; (c) the debtor had been making

every effort to rehabilitate itself; and (d) there was a promise of success).

         18.      Importantly, not all of these factors are relevant to every case and courts use only

the relevant subset of the above factors to determine whether cause exists to grant an exclusivity

extension in a particular chapter 11 case. See L.B.H. Associates, 911 F.2d 724 at *2 (concluding

that the four “factors considered by the bankruptcy court are both relevant and permissible.”); see

also In re Express One Int’l, 194 B.R. 98, 100 (Bankr. E.D. Tex. 1996) (four factors relevant in

determining whether cause exists to extend exclusivity); In re Pine Run Trust, Inc., 67 B.R. 432,

435 (Bankr. E.D. Pa. 1986) (relying on two factors in holding that cause existed to extend

exclusivity). In this instance, as explained below, the relevant factors weigh in favor of extending

the Exclusivity Periods.

A.       The Debtors’ Chapter 11 Cases are Large and Complex.

         19.      Courts hold that the mere complexity and size of a chapter 11 case may warrant

extension of the exclusive periods to permit a debtor a meaningful opportunity to formulate a

chapter 11 plan. See, e.g., In re Texaco Inc., 76 B.R. 322, 325-27 (Bankr. S.D.N.Y. 1987) (holding

that “cause” existed to grant the debtor’s first request to extend exclusivity based on the size and

complexity of the case alone); In re Manville Forest Prods. Corp., 31 B.R. 991, 995 (S.D.N.Y.

1983) (“[S]heer mass, weight, volume and complication of the [debtors’] filings undoubtedly

justify a shakedown period.”).



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         20.      Both Congress and courts have recognized the size and complexity of a debtor’s

case alone may constitute cause for the extension of a debtor’s exclusive period to file a plan and

the period to solicit acceptances of such a plan. “[I]f an unusually large company were to seek

reorganization under chapter 11, the court would probably need to extend the time in order to allow

the debtor to reach an agreement.” H.R. Rep. No. 95-595, at 231-32, 406 (1978), reprinted in

1978 U.S.C.C.A.N. 5787, 6191, 6362. In fact, the size and complexity of a chapter 11 case is the

basis upon which courts most commonly grant extensions. See, e.g., Express One Int’l, 194 B.R.

at 100; In re Texaco, Inc., 76 B.R. 322, 326 (Bankr. S.D.N.Y. 1987) (“The large size of a debtor

and the consequent difficulty in formulating a plan of reorganization for a huge debtor with a

complex financial structure are important factors which generally constitute cause for extending

the exclusivity periods.”).

         21.      As set forth in the First Day Declaration, as of the Petition Date, the Debtors were

a leading producer of coal in the United States, holding more than 500 mining permits and

operating 32 properties across Kentucky, Virginia, West Virginia, and Wyoming that held

approximately 1.2 billon reserve tons of coal. These chapter 11 cases involve 11 separate Debtor

entities with approximately $70 million in prepetition funded debt and hundreds of millions in

prepetition unsecured claims.         Further, as of the Petition Date, the Debtors employed

approximately 1,700 individuals. As has been evident at the various hearings in these chapter 11

cases, there are numerous creditor constituencies in these cases whose complex issues will need to

be resolved for the Debtors to reach a successful conclusion of these cases. In short, these chapter

11 cases are large and complex. This complexity alone warrants granting the Debtors’ request to

extend the Exclusivity Periods.




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B.       The Debtors Have Made Good Faith Progress Towards Successfully Navigating
         Chapter 11 in the Little Time that Has Elapsed Since the Petition Date.

         22.      Since the Petition Date, the Debtors have made substantial progress in

administering these chapter 11 cases and negotiating with stakeholders, which further warrants an

extension of the Exclusivity Periods. As more fully set forth above and in the First Motion, among

other milestones already realized, the Debtors have (a) secured two rounds of short term bridge

financing necessary to avoid the immediate conversion of these cases to cases under chapter 7 and

a third round of funding, in the form of a purchase deposit from Contura, needed to conduct a

fulsome sale process; (b) conducted a three-day auction process and subsequently consummated

ten asset sale transactions with various successful bidders; (c) received approval and closed two

private sales for a substantial portion of the Debtors’ remaining assets, including the sale of the

Debtors’ Wyoming assets to Eagle Specialty Materials, LLC; (d) settled outstanding litigation and

other disputes with the DOL and BJMS; (e) compromised the claims of, as well as all other related

issues and disputes with, Riverstone; (f) secured the agreement of the Junior DIP Lenders to

forgive $2.9 million of debtor in possession financing; and (g) secured the funds necessary to pay

outstanding prepetition wages to the Debtors’ employees.

         23.      Since the First Motion was filed, the Debtors have also made significant progress

reviewing and analyzing the various secured and administrative claims filed in these cases, began

critical investigations of parties that may have benefitted at the expense of the Debtors and their

creditors, continued to pursue sales of their remaining assets, worked to resolve various issues with

the completed sales of the Debtors’ assets, including the assumption and assignment of various

contracts and leases and the transfer of permits, developed a strategy to address unpaid claims




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under the Health Plan and filed a motion seeking to prohibit providers from seeking to collect

against their former employees and their dependents.

         24.      The Debtors’ substantial progress in working with their stakeholders and

administering the chapter 11 cases to this point supports the extension of the Exclusivity Periods.

See In re Mirant Corp., No. 4-04-CV-476-A, 2004 WL 2250986, at *2 (N.D. Tex. Sept. 30, 2004)

(noting that an extension of exclusivity is typically granted where “the debtor has shown

substantial progress toward reorganization”).

C.       Extending the Exclusivity Periods Will Provide the Debtors with Sufficient Time to
         Negotiate the Final Phases of these Chapter 11 Cases and Prepare Adequate
         Information.

         25.      The Debtors and their advisors have been working toward the conclusion of these

chapter 11 cases and have had substantial discussions with the Committee and other parties in

interest about the Debtors’ exit from chapter 11. The Committee and the Debtors have worked

collaboratively on exploring the best way to liquidate the remaining assets, to pursue valuable

causes of action and to wind down the estates. However, given the size and complexity of these

cases as well as the likelihood of litigation against Mr. Hoops and other parties to fund a chapter

11 plan, the Debtors require additional time to complete the planning and development of a plan

of liquidation. Moreover, the Debtors could not make further progress toward formulation of a

plan until they had a full understanding of their claims population, which required expiration of

the claim bar deadlines. The time provided by an extension of the Exclusivity Periods will also be

used to continue analyzing the claims population, working with all parties to resolve various

outstanding matters, and formulate a liquidating plan. This is critical to ensuring an efficient,

cost-effective, and value-maximizing process and will provide the Debtors with needed time to

obtain support and resolve remaining issues in these chapter 11 cases.



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D.       The Debtors Are Paying Their Bills as They Come Due.

         26.      Since the Petition Date, the Debtors have been paying their postpetition debts in the

ordinary course of business or as otherwise provided by Court order.

E.       The Debtors Have Demonstrated Reasonable Prospects for Filing a Viable Plan.

         27.      Since the Petition Date, the Debtors have had a great deal of success in sustaining

these cases, selling substantially all of their assets in value maximizing transactions, managing the

various issues and disputes that have arisen, and now investigating the parties that may have

benefitted at the expense of the Debtors and their creditors. As the Court will recall, the specter

of an immediate conversion to chapter 7 has hung over these cases since the beginning. That the

Debtors have avoided that conversion, sold substantially all of their assets, and in a position to

pivot to a chapter 11 liquidating plan is truly remarkable. The Debtors believe that the time

afforded by the requested Exclusivity Extensions will allow them to continue to engage in good

faith negotiations with key stakeholders and achieve a successful conclusion of these cases. All

of this has allowed the Debtors to position themselves to negotiate and pursue a viable plan of

liquidation.

F.       Relatively Little Time Has Elapsed in these Chapter 11 Cases.

         28.      This request to extend the Exclusivity Periods is the Debtors’ second request and

comes approximately 200 days into these chapter 11 cases. In general, large, complex chapter 11

cases take substantial time to reach confirmation. See, e.g. In re GenOn Energy, Inc., No. 17-

33695 (Bankr. S.D. Tex. April 9, 2018) (granting second extension of exclusive filing period of

approximately 8 months for a total 18-month exclusive filing period); In re TSA WD Holdings,

Inc., et al. (f/k/a Sports Authority Holdings, Inc.), No. 16-10527 (MFW) (Bankr. D. Del. 2016)

(643 days between petition date and the date set for confirmation hearing); In re Edison Mission



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Energy, No. 12-49219 (JPC) (Bankr. N.D. Ill. 2012) (450 days between petition date and

confirmation hearing); In re BB Liquidating Inc., et al. (f/k/a Blockbuster Inc., et al.), No. 10-

14997 (CGM) (Bankr. S.D.N.Y. 2010) (1,028 days between petition date and confirmation

hearing); In re Circuit City Stores, Inc., No. 08-35653 (KRH) (Bankr. E.D. Va. 2008) (670 days

between petition date and confirmation hearing). Accordingly, the Debtors believe that the

additional 91-day extension is warranted.

G.       The Debtors Are Not Pressuring Creditors to Submit to Any Demands.

         29.      The Debtors do not seek to extend the Exclusivity Periods to pressure creditors.

Rather, the Debtors intend to use their chapter 11 process to produce a consensual plan that

maximizes value for all stakeholders. See River Bend-Oxford Assocs., 114 B.R. 111, 114 (Bankr.

D. Md. 1990) (“Section 1121 is designed to afford a debtor an exclusive period in which to propose

a plan [and] … furthers the purpose of a rehabilitation.”). At this stage, the Debtors seek the

proposed extension to provide additional time to pursue necessary litigation, further the claims

reconciliation process and gather consensus among parties in interest to fully accomplish their

chapter 11 goals.

H.       An Extension of the Exclusivity Periods Will Not Prejudice Creditors.

         30.      Finally, extending the Exclusivity Periods will not harm creditors. As set forth

above, since the Petition Date, the Debtors have obtained financing to continue these chapter 11

cases, closed twelve separate public and private sales of substantially all of their assets, and settled

numerous highly complex issues with the DOL, BJMS, the Junior DIP Lenders, and Riverstone.

Additionally, since filing the First Motion, the Debtors have (i) commenced the claims

reconciliation process; (ii) requested authorization to establish a procedure for pursuing sales of

de minimis assets and pursuing the same; (iii) worked with the various asset purchasers to provide



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for the assumption and assignment for executory contracts and unexpired leases of nonresidential

property; (iv) worked with UHSI and the Hoops Bill groups to understand the amount and nature

of those unprocessed claims accrued under the Health Plan; and (v) worked with the Committee

to investigate multiple parties, including Mr. Hoops and those persons and entities related to Mr.

Hoops. Accordingly, the Debtors have obtained approval of critical relief to progress toward

confirming a chapter 11 plan that maximizes value for all stakeholders.

         31.      By contrast, allowing the Exclusivity Periods to expire would defeat the very

purpose of section 1121 of the Bankruptcy Code—to afford a debtor a meaningful and reasonable

opportunity to negotiate with creditors and propose and confirm a consensual chapter 11 plan. See

H.R. Rep. No. 103-835, at 36 (1994), reprinted in 1994 U.S.C.C.A.N. 3340, 3344 (“[E]xclusivity

is intended to promote an environment in which the debtor’s business may be rehabilitated and a

consensual plan may be negotiated.”); see also In re Lehigh Valley Prof. Sports Club, Inc., 2000

WL 290187 (Bankr. E.D. Pa. 2000) (“Given bankruptcy’s overarching goal of consensual

reorganization, it not surprising that Congress would have elected to preclude competing plans in

the formative period of the Chapter 11 case . . . the Code policy of encouraging consensual

reorganizations will be served by leaving exclusivity in place as Congress intended.”).

         32.      Accordingly, the Debtors submit that the foregoing factors merit granting a further

extension of the Exclusivity Periods as requested herein.

                                              NOTICE

         33.      The Debtors, with the assistance of their claims and noticing agent, will provide

notice of this Motion by email and/or first class mail to: (i) the Office of the United States Trustee

for the Southern District of West Virginia, (ii) the Debtors’ prepetition secured lenders, (iii) the

creditors appearing on the Debtors’ consolidated list of top 30 unsecured creditors, (iv) the Office

of the United States Attorney for the District of West Virginia, (v) the Internal Revenue Service,

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(vi) counsel to United Bank, Inc., Steptoe & Johnson PLLC, (vii) counsel to the Creditors’

Committee, Whiteford Taylor & Preston, LLP, and (viii) all parties requesting notices pursuant to

Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested, no

other or further notice need be given.

         WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order,

substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

such other relief that is just and proper.

 DATED: January 23, 2020                      SUPPLE LAW OFFICE, PLLC

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                                               – and –

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